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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:

         Maryanne Karaman                             CASE NO.: 6:14-bk-01818-KSJ
                                                      Chapter 13

                       Debtor(s).

____________________________/


                     DEBTOR’S RESPONSE TO MOTION TO DISMISS


         COMES NOW, the Debtor, MARYANNE KARAMAN, by and through the undersigned
attorney, and hereby responds to the Trustee’s Motion to Dismiss for Failure to Maintain Timely
Plan Payments (DE 79) (the “Motion”), and state as follows:


         1.     The Debtor filed this Chapter 13 case on 02/19/2014.

         2.     On February 28, 2018, the Chapter 13 Trustee filed the Motion, based on the

                Debtor’s failure to make payments totaling $2,231.00 through the payment due on

                March 21, 2018.

         3.     The Debtor wants to complete her Chapter 13 Plan, request that this Court allow

                her an additional (15) days until April 6, 2018 to meet with the undersigned

                counsel and file a Motion to Modify Confirmed Plan or otherwise address the

                delinquency before dismissing her case.

         WHEREFORE, the Debtor respectfully requests that this Honorable Court allow her to

become current on her payments as set forth herein.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

CM/ECF on all parties having appeared electronically in this case; or by U.S. Mail to: Laurie K.

Weatherford, Trustee, P.O. BOX 3450, Winter Park, FL 32790 and all parties listed in the

attached mailing matrix this 22nd day of March, 2018.



                                                    /s/ Charles W. Price
                                                    CHARLES W. PRICE, ESQ.
                                                    PRICE LAW FIRM
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                                                    Altamonte Springs, FL 32701
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